  Case 17-18676           Doc 67    Filed 12/18/19 Entered 12/19/19 09:57:04             Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                           Eastern Division

In Re:                                           )            BK No.:      17-18676
Clifford E Keller and Mary A Szerzen-            )
Keller                                           )            Chapter: 7
                                                 )
                                                              Honorable Carol A. Doyle
                                                 )
                                                 )
                    Debtor(s)                    )

                    ORDER AUTHORIZING SHORT SALE & SHORTENED NOTICE

       THIS MATTER coming to be heard on the Motion to Authorize Short Sale & Shorten notice,
the Court having jurisdiction, with dues notice having been given to all parties in interest:

  IT IS HEREBY ORDERED THAT:

  The motion is granted as follows:

  1. The Debtor is authorized to sell the property located at 697 Weymouth Circle Hanover Park, IL
60133 pursuant to a short sale agreement but only if:

       a.     Ocwen Loan Servicing, LLC agrees to the sale, and

     b. Olde Salem Homeowners Association is paid all amounts owed as of the time of closing at the
closing.

   2. The debtors, Clifford E Keller and Mary A Szerzen-Keller, may receive approximately $3000.00
in "relocation funds" from the proceeds of sale.

  3.        The shortened notice period is approved.

                                                           Enter:



                                                                    Honorable Carol A. Doyle
Dated: December 18, 2019                                            United States Bankruptcy Judge

 Prepared by:
 David H. Cutler, ESQ
 Cutler & Associates Ltd.
 4131 Main Street
 Skokie IL 60076
 (847) 673-8600
